EXHIBIT 8
                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

ELBIT SYSTEMS LAND AND C4I LTD.,                    §
ELBIT SYSTEMS OF AMERICA, LLC,                      §
                                                    §   Case No. 2:15-CV-00037-RWS-RSP
                Plaintiffs,                         §
                                                    §
v.                                                  §
                                                    §
HUGHES NETWORK SYSTEMS, LLC,                        §
                                                    §
                Defendant.                          §

                              ORDER ON MOTIONS IN LIMINE

       Before the Court are Motions in Limine filed by Plaintiffs Elbit Systems Land and C4I Ltd.

And Elbit Systems of America, LLC (collectively, “Elbit”) (Dkt. 370) and by Defendant Hughes

Network Systems, LLC (“Hughes”) (Dkt. 370). The Court heard argument on the motions during

the pretrial conference on June 26, 2017. For the reasons explained at the conference, the Court

rules as follows. A party must approach the bench before introducing evidence or argument about

the subject matter of a granted motion in limine.

                               ELBIT’S MOTIONS IN LIMINE

1. Testimony or Argument Contrary to the Markman Order

       DENIED. Either party may object to witness testimony as being contrary to the Court’s
       claim construction at trial.

2. PES Demonstration System

       DENIED. Having considered testimony and argument concerning the authenticity of the
       PES Demonstration System components, the Court is convinced that Hughes has met the
       low bar of authenticity. Whether the system is a prior art system, or whether system
       components were available before the critical date, are questions for the jury, not questions
       of authenticity. See Silver State Intellectual Techs., Inc. v. Garmin Int’l, Inc., No. 2:11-
       CV- 01578-GMN, 2015 WL 2152658, at *1 (D. Nev. May 7, 2015). Hughes must make
       Mr. Messineo available at trial, and Elbit may question the witness about his knowledge
       of the allegedly prior system.

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3. Relative Importance of Claim Elements

       DENIED.

4. Expert Testimony Not Disclosed in Expert Reports

       GRANTED IN PART and DENIED IN PART as follows: (1) Defendant is precluded
       from presenting evidence or argument that Mr. Elbert is an inventor of the subject matter
       claimed in the ’073 patent; and (2) Defendant is precluded from relying on uncharted prior
       art to prove invalidity by demonstrating that uncharted prior art discloses or suggests
       elements of the asserted claims. Defendant is also precluded from introducing uncharted
       prior art as an exhibit and displaying uncharted prior art as a demonstrative, with the
       exception of books authored by Mr. Elbert. Defendant is otherwise not precluded from
       relying on uncharted prior art in the context of background material relevant to the
       technology at issue, state of the art, or establishing what one of skill in the art would have
       known at the time of the invention. The motion is otherwise denied with the understanding
       that expert testimony is always limited to the disclosure the report. See Fed. R. Civ. P.
       26(a)(2)(B), 37(c)(1).

5. Any Argument That Shiron Breached its 2008 Patent Commercialization Agreement With
   iLeverage

       DENIED.

6. References to Claims or Causes of Action That Have Been Dismissed or Dropped by Elbit to
   Narrow its Case for Trial

       GRANTED as to (1) evidence or argument that the fact that a claim or cause of action has
       been dropped or dismissed suggests that a product is not covered by the claims or that a
       third party does not infringe; and (2) evidence or argument that the fact that a product or
       third party was once accused but is no longer accused suggests the product is not covered
       by the claims or the third party does not infringe.

7. Products and Third Parties Not Accused of Infringement

       GRANTED as to evidence or argument that the fact that a party has not been sued for
       patent infringement suggest that the party does not infringe.

8. Defendants’ Patents or Patent Applications as a Defense to Infringement

       GRANTED as to evidence or argument that Defendant’s patents are a defense to
       infringement.

9. Criticisms of the USPTO and/or USPTO Employees and Speculation About Possible Examiner
   Responses

       GRANTED BY AGREEMENT.


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10. References to Equitable Issues

       DENIED with the understanding that Defendant will not (1) present evidence or argument
       that is relevant only to an equitable issue; or (2) present evidence of argument that Plaintiffs
       are estopped or undeserving of damages because of Plaintiffs’ delay in filing suit.

11. Elbit’s Business Activities

       GRANTED IN PART AS RECIPROCAL BY AGREEMENT and DENIED as to
       Defendant’s use of the phrase “hold up” as an economic term.



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                               HUGHES’ MOTIONS IN LIMINE

1. Evidence or argument that the ’073 Patent requires unclaimed features or capabilities

       DENIED.

2. Evidence or argument that “means for switching” satisfies the “switching means” or that a
   “decision to switch” at the remote terminal is not required by the claims

       DENIED.

3. Evidence or argument concerning the doctrine of equivalents

       GRANTED BY AGREEMENT.

4. Evidence or argument suggesting that the Personal Earth Station is not prior art because
   documents and source code were not public

       DENIED.

5. Evidence or argument that Advantech’s products practice the asserted patents

       GRANTED AS RECIPROCAL BY AGREEMENT.

6. Evidence or argument that Defendants copied the ’874 Patent

       GRANTED BY AGREEMENT.

7. Evidence or argument that Defendants copied the ’073 Patent.

       DENIED.

8. Evidence or argument that Defendant had a duty to search or investigate patents
                                                  3
       GRANTED BY AGREEMENT that Plaintiffs will not prevent evidence or argument that
       Defendant had a duty to search or investigate patents. Plaintiffs are not precluded from
       presenting evidence or argument that Defendant did investigate patents. In addition,
       Plaintiffs may refer to 37 C.F.R. § 11.18, which among other things relates to an applicant’s
       certification that statements made to the Patent Office are true, but the Court will closely
       monitor any testimony related to this provision at trial.

9. Evidence or argument concerning purported statements by Kenneth Miller, deceased

       GRANTED. Having considered the arguments and authorities offered by the parties, the
       Court concludes that Mr. Miller’s position at a related corporate entity is not sufficient to
       meet the requirements of Federal Rule of Evidence 801(d)(2). Mr. Miller’s hearsay
       statements are excluded.

10. Evidence or argument that violates the entire market value rule

       GRANTED BY AGREEMENT as to total revenues and net worth, DENIED as to unit
       prices including products and services.

11. Evidence or argument concerning the parties’ Caltech-related discovery letters

       GRANTED as to discovery letters from Defendant’s counsel.

12. Evidence or argument that Hughes’ patents show infringement, validity, or the functionality of
    Hughes’ products

       GRANTED BY AGREEMENT that Defendant’s patents will not be used to show
       functionality of Hughes’ accused products.

13. Evidence or argument suggesting that the Personal Earth Station was not inventive or first in
    time because Hughes did not seek its own patent

       WITHDRAWN.

14. Evidence or argument relating to indemnification agreements

       GRANTED AS MODIFIED BY AGREEMENT.

15. Evidence or argument of discovery deficiencies, violations, or spoliation

       GRANTED with the narrow exception that if a party relies on the absence of its own
       documents to establish a material fact, the opposing party may present evidence or
       argument about that party’s document retention policy.

16. Evidence or argument for the presumption of validity

       DENIED.


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17. Evidence or argument relating to expert’s prior affiliations

       GRANTED BY AGREEMENT.

18. Improper argument regarding the burden of proof

       GRANTED (modified from ruling at pretrial conference). Before a party presents
       argument concerning the burden of proof in a different area of law, e.g., the burden of proof
       required to commit an individual to an institution, revoke parental rights, or terminate life
       support, the party must first approach the bench. This applies to any analogy to the burden
       of proof in another area of law anticipated during voir dire.

19.
. Evidence or argument that the Court has power to dismiss frivolous suits
       GRANTED.

20. Evidence or argument relating to irrelevant lawsuits

       GRANTED to the extent that the parties will not discuss the terms of a license or
       agreement that neither party contends is comparable to the hypothetical license.

21. Reference to a priority or reduction to practice date earlier than the date of filing of the ’073
    Patent

       DENIED AS MOOT in light of Court’s previous Order. See Dkt. 388.

22. Evidence or argument relating to the Gilat Settlement

       WITHDRAWN.
       SIGNED this 3rd day of January, 2012.
        SIGNED this 25th day of July, 2017.




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                                                      ROY S. PAYNE
                                                      UNITED STATES MAGISTRATE JUDGE




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